                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   ROANOKE DIVISION

 UNITED STATES OF AMERICA,                               )
                                                         )
 Plaintiff,                                              )
                                                         )
 v.                                                      )
                                                         )   Case No. 7:19-CV-00354
 SOUTHERN COAL CORPORATION, ET                           )
 AL.                                                     )
                                                         )
 Defendant.                                              )
 ____________________________________                    )


          ORDER GRANTING THE UNITED STATES’ MOTION TO COMPEL
                COMPLIANCE WITH THE CONSENT JUDGMENT

       Upon consideration of the United States’ Motion to Compel Compliance with the Consent

Judgment; and the Court having determined that the legal and factual bases set forth in the Motion

and Memorandum in Support of the Motion establish just cause for the relief granted; and upon

all of the proceedings had before this Court; and after due deliberation and sufficient cause

appearing therefor, it is HEREBY ORDERED THAT:

       1. The Motion is granted.

       2. Within 10 days of the date of this Order, the Defendants shall pay $409,768.00 in

delinquent payments to the United States.

       3. Defendants shall tender all future payments required under the Consent Judgment (ECF

No. 45) until Defendants’ total debt is satisfied.

       4. The Court shall retain jurisdiction with respect to all matters arising from or related to

the implementation of this Order.


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                                                                     Michael F. Urbanski
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So Ordered this ___ day of ________,
                                -XQH 2023.                           Chief U.S. District Judge
                                                                     2023.06.20 15:49:31
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                                                 ________________________________
                                                 MICHAEL F. URBANSKI
                                                 Chief Judge United States District Court




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